Case 1: 04- -c\/- -01174- .]DT- STA Document 32 Filed 06/10/05 Page 1 of 3 Page|D 18

//O)<j "J/ g

0
iN THE UNITED sTArEs DISTRICT Coditaz;,
FoR THE WESTERN DISTRICT oF TEi\ajESSEi§F 34 `\ 559
EASTERN DIvlsioN 33 § 331/33 faa

q ~’}# (/ &/">_ 2
RAYMoND ANDREW CLARK, /o§; ff
Plaintirr,
vs. NO. 04-1174-r/An

CHARLES TRAUGHBER, ET AL.,

\-_/\-/\-_-/\_/\_/\._/\_/"~_/\-,/

Defendants.

 

ORDER DENYING MOTION TO TRAVERSE AND
ALTERNATIVE MOTION FOR CONTEMPT OF COURT

 

On May 134 2005 , the Court issued an order giving the defendants twenty days from
the date of the order in Which to respond to the complaint and to plaintiff s motion for
summary judgment The order Was officially entered on the docket on May 16, 2005.
Defendants complied with the Court’s order by filing a response to the summary judgment
motion and a motion to dismiss on June 64 2005.

Plaintiff has now filed a “l\/lotion to Traverse and in the Alternative Motion for
Contempt of Court” in Which he argues that the defendants have failed to comply With the
Court’s order and With the Federal Rules of Civil Procedure. Specifically, plaintiff
complains because the defendants’ response does not provide “specific point by point facts”

to refute his allegations and arguments

This document entered on the docket sheet {l:l})conllance
with Ftute 58 and 'or_79 (a) FRCP on

Case 1:04-cv-01174-.]DT-STA Document 32 Filed 06/10/05 Page 2 of 3 Page|D 19

Plaintiff’s motion is DENIED. The Court will determine for itself, upon

consideration of the merits of the pending motions, the adequacy of defendants’ response.

lT IS SO ORDERED.

 

JAE]ZJS D. TODD
ED STATES DISTRICT JUDGE

_/0 V/(,w»¢ 3'0’95/

DATE

DISTRICT oURT - WESTER D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 1:04-CV-01174 vvas distributed by faX, mail, or direct printing on
June 134 2005 to the parties listed.

 

 

Bradley W. Flippin

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

Raymond Andrevv Clark
W.T.S.P.

292729

P. O. BoX 1150

Henning, TN 38041--1 15

Honorable J ames Todd
US DISTRICT COURT

